Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 1 of 13 PageID: 1298



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

                                             :
 EVER BEDOYA, DIEGO                          :
 GONZALES, and MANUEL                        :
 DeCASTRO, on behalf of themselves           :   2:14-cv-02811-ES-JAD
 and all others similarly situated,          :
                                             :   ELECTRONICALLY FILED
                         Plaintiffs,         :
                                             :   Notice of Motion Date:
               v.                            :   January 17, 2017
                                             :
 AMERICAN EAGLE EXPRESS, INC.                :
 d/b/a AEXGroup.,                            :
                                             :
                         Defendant.          :
                                             :

            PLAINTIFFS’ MEMORANDUM OF LAW IN
      OPPOSITION TO DEFENDANT’S MOTION TO CERTIFY AN
     IMMEDIATE INTERLOCUTORY APPEAL OF THE COURT’S
    NOVEMBER 22, 2016 ORDER AND STAY OF THE PROCEEDINGS

 Date: January 3, 2017                 Peter Winebrake*
                                       R. Andrew Santillo (NJ ID #025512004)
                                       Mark J. Gottesfeld, Esq. (NJ ID #027652009)
                                       WINEBRAKE & SANTILLO, LLC
                                       715 Twining Road, Suite 211
                                       Dresher, PA 19025
                                       (215) 884-2491
                                       Harold Lichten*
                                       Matthew Thomson*
                                       LICHTEN & LISS RIORDAN, P.C.
                                       100 Cambridge Street, 20th Floor
                                       Boston, MA 02114
                                       *Admitted Pro Hac Vice
                                       Counsel for Plaintiffs
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 2 of 13 PageID: 1299



                                      TABLE OF CONTENTS

 I.     THE APPLICABLE STANDARD OF REVIEW........................................ 1

 II.    ARGUMENT ................................................................................................ 3

        A. Certification for Interlocutory Appeal is Not Warranted in this Case .... 3

            1. Defendant Cannot Satisfy § 1292(b)’s Requirement that an
               Immediate Appeal Will “Materially Advance the Ultimate
               Termination of the Litigation.” .......................................................... 3

            2. Defendant Cannot Satisfy § 1292(b)’s Requirement of a
               “Substantial Ground for a Difference of Opinion.” ........................... 6

        B. If the Court Certifies its November 21st Order for Interlocutory
           Review, Defendant’s Request for a Stay Should be Denied ................... 8

 III.   CONCLUSION............................................................................................. 9




                                                         i
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 3 of 13 PageID: 1300



                                     TABLE OF AUTHORITIES

 CASES/DECISIONS

 Bachowski v. Usery,
     545 F.2d 363 (3d Cir. 1976)........................................................................... 2

 Chambers v. RDI Logistics, Inc.,
     -- N.E.3d --, 476 Mass. 95 (Mass. 2016) ....................................................... 6

 Children First Foundation v. Legreide,
       2005 U.S. Dist. LEXIS 28703 (D.N.J. Nov. 17, 2005) .................... 2, 3, 4, 6

 Craig v. Rite Aid Corp.,
      2010 U.S. Dist. LEXIS 20648 (M.D.Pa. Feb. 4, 2010) ................................. 1

 Coopers & Lybrand v. Livesay,
      437 U.S. 463 (1978)...................................................................................... 1

 Echavarria, et al. v. Williams Sonoma, Inc., et al.,
     2016 U.S. Dist. LEXIS 33980 (D.N.J. Mar. 16, 2016) ................................. 7

 Eisai Inc. v. Zurich Am. Ins. Co.,
        2015 U.S. Dist. LEXIS 1747 (D.N.J. Jan. 8, 2015).............................. 2, 3, 6

 Hargrove v. Sleepy’s LLC,
     10-cv-1138-PGS, Doc. 170 (D.N.J. Oct. 25, 2016) ....................................... 7

 Hensley v. First Student Mgmt., LLC,
      2016 U.S. Dist. LEXIS 169036 (D.N.J. Dec. 7, 2016) ...................2, 3, 4, 7-8

 In re Central European Distribution Corp. Securities Litig.,
       2012 U.S. Dist. LEXIS 162616 (D.N.J. Nov. 14, 2012) ............................... 3

 Jackson Hewitt, Inc. v. DJSG Utah Tax Serv., LLC,
      2011 U.S. Dist. LEXIS 16533 (D.N.J. Feb. 17, 2011) .................................. 3

 Massachusetts Delivery Ass’n v. Healey,
     821 F.3d 187 (1st Cir. 2016) .......................................................................... 5


                                                         ii
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 4 of 13 PageID: 1301



 Nat’l Health Plan Corp. v. Teamsters Local 469,
       2013 U.S. Dist. LEXIS 57663 (D.N.J. Apr. 22, 2013)................................. 4

 Nken v. Holder,
       556 U.S. 418, 434-35 (2009) ........................................................................ 8

 N.V.E., Inc., v. Palmeroni,
       2012 U.S. Dist. LEXIS 78215 (D.N.J. June 5, 2012)................................... 3

 Orson, Inc. v. Miramax Film Corp.,
      857 F. Supp. 319 (E.D. Pa. 1994) ................................................................. 3

 Portillo v. Nat’l Freight, Inc.,
       2016 U.S. Dist. LEXIS 132180 (D.N.J. Sept. 26, 2016) ............................ 5-6

 Schwann v. FedEx Ground Package Sys., Inc.,
     813 F.3d 429 (1st Cir. 2016) .......................................................................... 5

 Titelman v. Rite Aid Corp.,
       2002 U.S. Dist. LEXIS 11290 (E.D. Pa. Feb. 5, 2002) ................................. 3

 United Nat’l Ins. Co. v. Aon Ltd.,
     2008 U.S. Dist. LEXIS 28249 (E.D. Pa. Apr. 7, 2008) .................................. 3

 Walsh Securities, Inc. v. Cristo Property Management, Ltd.,
      7 F. Supp. 2d 523 (D.N.J. 1998) ................................................................... 8

 Zygmuntowicz v. Hospitality Investments, Inc.,
     828 F. Supp. 346 (E.D. Pa. 1993) ................................................................... 3


 STATUTES
 28 U.S.C. § 1292(b) ....................................................................................... passim
 49 U.S.C. § 14501(c)(1). ......................................................................................... 4




                                                          iii
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 5 of 13 PageID: 1302



        Plaintiffs Ever Bedoya, Diego Gonzales, and Manuel DeCastro (“Plaintiffs”)

 submit this brief in opposition to Defendant American Eagle Express, Inc.’s

 (“Defendant”) motion to certify the Court’s November 21, 2016 1 Order

 (“November 21st Order”) for an immediate interlocutory appeal pursuant to 28

 U.S.C. § 1292(b) and stay the district court proceedings. See Doc. 112 (“Motion”).

 As discussed below, the Motion should be denied because Defendant cannot

 satisfy two of the three requirements under 28 U.S.C. § 1292(b) necessary to

 warrant an immediate appeal.

 I.     THE APPLICABLE STANDARD OF REVIEW

        “As a general rule, a matter may not be appealed to the Third Circuit unless

 it is a final judgment.” Craig v. Rite Aid Corp., 2010 U.S. Dist. LEXIS 20648, *7

 (M.D.Pa. Feb. 4, 2010). Only “exceptional circumstances justify a departure from

 the basic policy of postponing appellate review until after the entry of final

 judgment.” Coopers & Lybrand v. Livesay, 437 U.S. 463, 475 (1978) (internal

 citation and quotations omitted, emphasis supplied).

        A party must satisfy three separate criteria to justify an interlocutory appeal

 under 28 U.S.C. § 1292(b):

               (1)     A controlling question of law;

 1
  Defendant mistakenly lists the date of the Court’s order as November 22, 2016, see Doc. 112,
 but it is actually dated November 21, 2016, see Doc. 110.

                                                1
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 6 of 13 PageID: 1303



              (2)    A substantial ground for a difference of opinion as
                     to the correctness of that question; and

              (3)    An immediate appeal of that question will
                     materially advance the ultimate termination of the
                     litigation.

 Children First Foundation v. Legreide, 2005 U.S. Dist. LEXIS 28703, *20 (D.N.J.

 Nov. 17, 2005). “The burden is on the movant to demonstrate that all three

 requirements are met.” Eisai Inc. v. Zurich Am. Ins. Co., 2015 U.S. Dist. LEXIS

 1747, *13 (D.N.J. Jan. 8, 2015) (Salas, J.) (internal citations and quotations

 omitted).

       However, “[e]ven if the moving party satisfies all three requirements, the

 Court may deny certification because the decision to grant a section 1292(b)

 certification for interlocutory appeal is ‘wholly within the discretion of the [district

 court].’” Children First Foundation, 2005 U.S. Dist. LEXIS 28703, at *21

 (quoting Bachowski v. Usery, 545 F.2d 363, 368 (3d Cir. 1976)); see also Eisai

 Inc., 2015 U.S. Dist. LEXIS 1747, at *13; Hensley v. First Student Mgmt., LLC,

 2016 U.S. Dist. LEXIS 169036, *4 (D.N.J. Dec. 7, 2016). As this Court has

 recognized, interlocutory appeals “‘should only rarely be allowed as it deviates

 from the strong policy against piecemeal litigation.’” Eisai Inc., 2015 U.S. Dist.




                                            2
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 7 of 13 PageID: 1304



 LEXIS 1747, at *13 (emphasis supplied).2 Importantly, Section 1292(b) is not

 intended “to be a ‘vehicle to provide early review of difficult rulings in hard

 cases.’” Jackson Hewitt, Inc. v. DJSG Utah Tax Serv., LLC, 2011 U.S. Dist.

 LEXIS 16533, *8 (D.N.J. Feb. 17, 2011).

 II.    ARGUMENT

        A.      Certification for Interlocutory Appeal is Not Warranted in this Case.

        For the reasons discussed below, Defendant cannot satisfy two of the three

 § 1292(b) factors 3 or otherwise demonstrate that the Court should deviate from the

 general rule of postponing appellate review until after a final judgment.

                1.     Defendant Cannot Satisfy § 1292(b)’s Requirement that an
                       Immediate Appeal Will “Materially Advance the Ultimate
                       Termination of the Litigation.”

        A section 1292(b) certification materially advances the ultimate termination
 2
    See also Hensley, 2016 U.S. Dist. LEXIS 169036, *4 (“[A] district court should exercise this
 discretion and certify issues for interlocutory appeal only ‘sparingly’ and in ‘exceptional
 circumstances[.]’”); In re Central European Distribution Corp. Securities Litig., 2012 U.S. Dist.
 LEXIS 162616, *6 (D.N.J. Nov. 14, 2012) (“Section 1292(b) should be ‘sparingly applied.’”);
 N.V.E., Inc., v. Palmeroni, 2012 U.S. Dist. LEXIS 78215, *17 (D.N.J. June 5, 2012) (“Section
 1292(b) certification should be used sparingly”); United Nat’l Ins. Co. v. Aon Ltd., 2008 U.S.
 Dist. LEXIS 28249, *5 (E.D. Pa. Apr. 7, 2008) (“piecemeal appeals [under § 1292(b)] are
 disfavored, and should only be allowed in exceptional cases”); Children First Foundation, 2005
 U.S. Dist. LEXIS 28703, at *21 (“The Court sparingly applies section 1292(b)”); Titelman v.
 Rite Aid Corp., 2002 U.S. Dist. LEXIS 11290, *2-3 (E.D. Pa. Feb. 5, 2002) (§ 1292(b)
 certification “is the exception, to be used only in the rare case”); Orson, Inc. v. Miramax Film
 Corp., 857 F. Supp. 319, 321 (E.D. Pa. 1994) (“the 1292(b) appeal is the exception”);
 Zygmuntowicz v. Hospitality Investments, Inc., 828 F. Supp. 346, 353 (E.D. Pa. 1993) (§ 1292(b)
 “is to be used in exceptional cases” and “was not intended to open the floodgates to a vast
 number of interlocutory appeals in the course of ordinary litigation”).
 3
   For purposes of this Motion, Plaintiffs agree that the Court’s November 21st Order involves a
 controlling question of law under § 1292(b).

                                                 3
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 8 of 13 PageID: 1305



 of the litigation when an interlocutory appeal would eliminate: (i) the need for trial;

 (ii) complex issues so as to simplify the trial; or (iii) issues to make discovery

 easier and less costly. See Nat’l Health Plan Corp. v. Teamsters Local 469, 2013

 U.S. Dist. LEXIS 57663, at *10-11 (D.N.J. Apr. 22, 2013). “The Court, however,

 must also bear in mind the policy of the federal courts against piecemeal appeals

 and their inherent delays.” Children First Foundation, 2005 U.S. Dist. LEXIS

 28703, at *30.

        Here, Defendant cannot satisfy these requirements because Plaintiffs’ unjust

 enrichment claims 4 will not be impacted by any potential appellate review of the

 Court’s November 21st Order. Defendant has never suggested that Plaintiffs’

 unjust enrichment claims are preempted or otherwise affected by the Federal

 Aviation Administration Authorization Act of 1994 (“FAAAA”), 49 U.S.C. §

 14501(c)(1). At least one District of New Jersey judge has held that this § 1292(b)

 factor can not be satisfied when a party pursues additional claims in a case that

 would not covered by the requested certification order. See Hensley, 2016 U.S.

 Dist. LEXIS 169036, at *6.

        Furthermore, Defendant’s own arguments in favor of their motion for

 judgment on the pleadings weigh against certification of the November 21st Order
 4
  Plaintiffs asserted their unjust enrichment claims as Count III of their Complaint. See Doc. 1.
 Defendant’s motion to dismiss the unjust enrichment claims was previously denied by the Court.
 See Doc. 50.

                                                4
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 9 of 13 PageID: 1306



 for interlocutory review. The primary authority relied upon by Defendant was the

 First Circuit’s decisions in Massachusetts Delivery Ass’n v. Healey, 821 F.3d 187

 (1st Cir. 2016) and Schwann v. FedEx Ground Package Sys., Inc., 813 F.3d 429

 (1st Cir. 2016) which address the interplay between the FAAAA and the ABC test

 to determine employment status under Massachusetts law. See Def. Brief (Doc.

 112-1) at pp. 1-3. However, the First Circuit did not hold that the Massachusetts

 ABC test was preempted by the FAAAA in its entirety. See Healey, 821 F.3d at

 189; Schwann, 813 F.3d at 440. Instead, it only held that the second of the three

 requirements (or “prongs”) was preempted and that the first and third prongs could

 be used by the plaintiffs to demonstrate their status as employees under

 Massachusetts law. See Schwann, 813 F.3d at 441.

       Thus, even if the Third Circuit were to adopt Defendant’s arguments and

 follow the First Circuit’s Healey and Schwann decisions as Defendant boldly

 predicts, only one of the three prongs of the New Jersey ABC test would be

 preempted. Subsequent decisions applying Schwann clearly demonstrate that even

 under Defendant’s best-case-scenario, the parties would still need to litigate the

 remaining two prongs. See, e.g., Portillo v. Nat’l Freight, Inc., 2016 U.S. Dist.

 LEXIS 132180, *9 (D.N.J. Sept. 26, 2016) (Simandle, J.) (holding that only the

 second prong of the Massachusetts ABC test was preempted, and Massachusetts


                                           5
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 10 of 13 PageID: 1307



 delivery drivers could proceed with their misclassification claims under prongs one

 and three); Chambers v. RDI Logistics, Inc., -- N.E.3d --, 476 Mass. 95 (Mass.

 2016) (holding that although prong two of the Massachusetts ABC test was

 preempted, the remaining prongs are not preempted where they constitute

 “commonly used State and Federal tests of employment”).

        Thus, an interlocutory appeal will not materially advance the termination of

 this lawsuit.

                 2.   Defendant Cannot Satisfy § 1292(b)’s Requirement of a
                      “Substantial Ground for a Difference of Opinion.”

        As this Court has previously observed, Defendant can only fulfill this factor

 by demonstrating “genuine doubt as to the correct legal standard” that was applied

 in the November 21st Order. Eisai Inc., 2015 U.S. Dist. LEXIS 1747, at *13

 (internal quotation and citation omitted); accord Children First Foundation, 2005

 U.S. Dist. LEXIS 28703, at *25-26. Defendant’s “mere disagreement with the

 district court’s ruling” or belief that it was wrongly decided, does not qualify a

 substantial ground for a difference of opinion. Id. Again, Defendant cannot satisfy

 this factor.

        When the Court heard oral arguments on Defendant’s motion for judgment

 on the pleading in March 2016, the parties and the Court were working in a

 vacuum. No other federal or state court had addressed the affect, if any, that the

                                            6
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 11 of 13 PageID: 1308



 FAAAA had on New Jersey’s ABC test for employment status. However, in the

 short time since oral arguments, this Court and two other District of New Jersey

 judges have addressed this issue and held that the ABC test is not preempted by the

 FAAAA. See Echavarria, et al. v. Williams Sonoma, Inc., et al., 2016 U.S. Dist.

 LEXIS 33980, *22-27 (D.N.J. Mar. 16, 2016) (Thompson, J.); Hargrove v.

 Sleepy’s LLC, 10-cv-1138-PGS, at Doc. 1705 pp. 11-12 (D.N.J. Oct. 25, 2016)

 (Sheridan, J.). 6 This unanimous authority on the FAAAA issue eliminates any

 “difference of opinion” that would require the Third Circuit to resolve.

        Defendant ignores this District of New Jersey authority and rehashes its

 prior arguments that the First Circuit’s decisions were correct while the Seventh

 and Ninth Circuits got it wrong. See Def. Brief (Doc. 112-1) at pp. 2-3, 8-10.

 However, as Judge Rodriguez observed just last month, the mere existence of

 conflicting circuit authority on an issue that has yet to be addressed by the Third

 Circuit does not mean that this § 1292(b) factor is satisfied. See Hensley, 2016

 U.S. Dist. LEXIS 169036, at *4-5 (holding that the presence of a circuit split “does

 5
   A copy of Judge Sheridan’s transcribed Hargrove opinion was attached to Plaintiffs’ November
 3, 2016 letter to the Court requesting permission to submit supplemental authority. See Doc.
 108.
 6
   In an effort to create support for this § 1292(b) factor, Defendant cites to Plaintiffs’ counsel’s
 statement at oral argument that interlocutory review may be appropriate. See Def. Brief (Doc.
 112-1) at p. 10. However, this suggestion by Plaintiffs’ counsel was made prior to either Judge
 Thompson or Judge Sheridan’s FAAAA opinions. As Plaintiffs’ counsel stated in its March 17,
 2016 supplemental letter brief to the Court, Judge Thompson’s Echavarria opinion “might
 militate against certification [for interlocutory review] at this juncture.” See Doc. 100 at p. 1.

                                                  7
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 12 of 13 PageID: 1309



 not tip the scale in favor of interlocutory review”). Thus, this § 1292(b) factor is

 not satisfied.

        B.        If the Court Certifies its November 21st Order for Interlocutory
                  Review, Defendant’s Request for a Stay Should be Denied.

        Plaintiffs also oppose Defendant’s request for a stay should the request for

 interlocutory certification be granted. A stay is an “extraordinary remedy,” Walsh

 Securities, Inc. v. Cristo Property Management, Ltd., 7 F. Supp. 2d 523, 526

 (D.N.J. 1998), and, as reiterated by the Supreme Court, requires a four part-

 showing by the party seeking the stay:

             (1) Whether the stay applicant has made a strong showing that he
             is likely to succeed on the merits; (2) whether the applicant will
             be irreparably injured absent a stay; (3) whether issuance of the
             stay will substantially injure the other parties interested in the
             proceeding; and (4) where the public interest lies.

 Nken v. Holder, 556 U.S. 418, 434-35 (2009). Here, Defendant has failed to show

 that it will fulfill any of these requirements. Moreover, as discussed in section

 II.A.1, supra, even if the Third Circuit were to follow the First Circuit’s logic as

 Defendant predicts, see Def. Brief (Doc. 112-1) at p. 14 (“The Third Circuit is

 likely to follow the First Circuit.”), the parties will still need to litigate the two

 remaining prongs of New Jersey’s ABC test in addition to Plaintiffs’ unjust

 enrichment claims. Thus, Defendant’s extraordinary request for a stay should be

 denied.

                                              8
Case 2:14-cv-02811-ES-JAD Document 113 Filed 01/03/17 Page 13 of 13 PageID: 1310



 III.   CONCLUSION

        For the reasons discussed herein, Plaintiffs respectfully request that

 Defendant’s Motion for an immediate appeal and stay be denied.


 Date: January 3, 2017                          Respectfully submitted,

                                                s/ R. Andrew Santillo
                                                Peter Winebrake*
                                                R. Andrew Santillo
                                                Mark J. Gottesfeld
                                                WINEBRAKE & SANTILLO, LLC
                                                Twining Office Center, Suite 211
                                                715 Twining Road
                                                Dresher, PA 19025

                                                Harold Lichten*
                                                Matthew Thomson*
                                                LICHTEN & LISS RIORDAN, P.C.
                                                100 Cambridge Street, 20th Floor
                                                Boston, MA 02114

                                                *Admitted Pro Hac Vice

                                                Counsel for Plaintiffs




                                            9
